Case 5:25-cv-00951-PCP   Document 116-1   Filed 05/23/25   Page 1 of 9




               Exhibit 1
                 Case 5:25-cv-00951-PCP                        Document 116-1                  Filed 05/23/25             Page 2 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of California

                  United States of America,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:25-cv-00951-PCP
       Hewlett Packard Enterprise Co. and Juniper                             )
                     Networks, Inc.                                           )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                           Gartner, Inc. c/o Andrew Black
                   Baker & McKenzie LLP, 15 Connecticut Avenue, N.W., Washington, District of Columbia 20006
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           Described in Schedule A, attached hereto.


  Place: United States Department of Justice, Antitrust Division                        Date and Time:
           450 5th St, NW,                                                                                   04/11/2025 9:00 am
           Washington, DC 20530

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/27/2025

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Jack G. Lerner
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
United States of America                                                , who issues or requests this subpoena, are:
Jack G. Lerner, U.S. DOJ, 450 5th St, NW, Washington, DC 20530, jack.lerner@usdoj.gov 202-227-9295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  Case 5:25-cv-00951-PCP                       Document 116-1                  Filed 05/23/25             Page 3 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:25-cv-00951-PCP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                  Case 5:25-cv-00951-PCP                          Document 116-1                  Filed 05/23/25               Page 4 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
           Case 5:25-cv-00951-PCP           Document 116-1         Filed 05/23/25       Page 5 of 9



 1                                                 SCHEDULE A

 2                  RULE 45 SUBPOENA FOR THE PRODUCTION OF DOCUMENTS

 3                                                 DEFINITIONS
 4          1.      The terms defined below and used in each of the topics should be construed broadly, to

 5   the fullest extent of their meaning in a good-faith effort to comply with the Federal Rules of Civil

 6   Procedure. These definitions are provided solely for the purpose of the specifications in this subpoena.

 7          2.      The terms “you,” “your,” and “the Company” mean your Company, its domestic and

 8   foreign parents, predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all

 9   directors, officers, employees, agents, and representatives of the foregoing. The terms “parent,”

10 “subsidiary,” “affiliate,” and “joint venture” refer to any person in which there is partial (25 percent or

11 more) or total ownership or control between Defendant and any other person.

12          3.      The terms “Hewlett Packard Enterprise Co.” and “HPE” mean Hewlett Packard

13 Enterprise Co., its domestic and foreign parents, predecessors, divisions, subsidiaries, affiliates,

14 partnerships and joint ventures, and all directors, officers, employees, agents, and representatives of the

15 foregoing.

16          4.      The terms “Juniper Networks, Inc.,” “Juniper Networks,” or “Juniper” mean Juniper

17 Networks, Inc., its domestic and foreign parents, predecessors, divisions, subsidiaries, affiliates,

18 partnerships and joint ventures, and all directors, officers, employees, agents, and representatives of the

19 foregoing.

20          5.      The terms “Cisco Systems, Inc.” and “Cisco” mean Cisco Systems, Inc, it domestic and

21 foreign parents, predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all
22 directors, officers, employees, agents, and representatives of the foregoing.

23          6.      The terms “and” and “or” have both conjunctive and disjunctive meanings.

24          7.      The term “any” means each and every.

25          8.      This “Action” refers to United States v. Hewlett Packard Enterprise Co., 25-cv-0951.

26          9.      The term “documents” is defined to be synonymous in meaning and equal in scope to the

27 usage of the phrase “documents or electronically stored information” in Rule 34(a)(1)(A) of the Federal
28                                                         1
           Case 5:25-cv-00951-PCP           Document 116-1         Filed 05/23/25     Page 6 of 9



 1   Rules of Civil Procedure and includes electronically stored information (“ESI”) of any kind in the
 2   possession, custody, or control of the company.
 3          10.     The term “including” means including but not limited to.
 4          11.     The term “Investigation” means Plaintiff’s pre-complaint investigation into the
 5   Transaction.
 6          12.     The term “person” includes the company and means any natural person, corporate entity,
 7   partnership, association, joint venture, government entity, or trust.
 8          13.     The term “Relevant Product” or “WLAN” means enterprise-grade wireless networking
 9   solutions, including wireless access points; the separate hardware or advanced software systems to
10 monitor and manage them; and related logistical support, including security updates and patches.

11          14.     The term “Transaction” refers to HPE’s proposed acquisition of Juniper Networks,
12 announced January 9, 2024.

13          15.     The singular includes the plural and vice versa.
14          16.     The “Elements of Compensation Value” are defined to mean the following:
15                      Element 1: Payments for subscriptions;
16                      Element 2: Payments for reprints;
17                      Element 3: Payments for consultation services and costs;
18                      Element 4: Payments for conference fees and costs;
19                      Element 5: Payments for in-person or virtual meetings and presentations;
20                      Element 6: Payments for gifts, including gifts of seats or tables at events for business,
21                      charity, entertainment or any other purpose; and
22                      Element 7: All other compensation of any kind not included in Elements 1 through 6
23                      above, whether by the receipt of monetary payment or in-kind delivery of goods and
24                      services of monetary value.
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28                                                         2
          Case 5:25-cv-00951-PCP           Document 116-1         Filed 05/23/25      Page 7 of 9



 1                                               INSTRUCTIONS
 2          1.      In addition to the specific instructions set forth below, the specifications in this subpoena
 3   incorporate the instructions set forth in Rule 45 of the Federal Rules of Civil Procedure, the Local Rules
 4   of the U.S. District Court for the Northern District of California, and the operative ESI Order in this
 5   case. Subject to a valid claim of privilege, the entire document must be produced if any part of that
 6   document is responsive.
 7          2.      Unless otherwise specified, these specifications are for all documents in your possession,
 8   custody, or control that were created, altered, or received at any time from January 1, 2019, to the
 9   present. Unless otherwise stated, these specifications are for all otherwise responsive documents,
10 regardless of where those documents are kept.

11          3.      These demands are continuing in nature, and Plaintiff specifically reserves the right to
12 seek supplementary responses and the additional supplementary production of documents before trial.

13          4.      Where a claim of privilege or other protection from discovery is asserted in objecting to
14 any request or sub-part thereof, and any document is withheld (in whole or in part) on the basis of such

15 assertion, you shall provide a log (“Privilege Log”) in accordance with the operative Case Management

16 Order and ESI Order or the operative versions of those orders in place at the time you provide a log.

17          5.      In producing documents, you must produce a legible copy of each document requested
18 together with all non-identical copies and drafts of that document. All metadata of electronic documents

19 must also be produced. You must retain all the original documents for inspection or copying throughout

20 the pendency of the Action, any appeal(s), and any related proceedings.

21          6.      If any portion of any document is responsive to any request, then the entire document
22 must be produced, including all attachments, including linked documents, and enclosures.

23          7.      Pursuant to Federal Rule of Civil Procedure 45(e)(1), documents must be produced
24 either: (a) as they are kept in the usual course of business (in which case, they must be produced in such
25 fashion as to identify the department, branch, or office in whose possession they were located and,

26 where applicable, the natural Person in whose possession they were found or the server or central file in

27
28                                                        3
           Case 5:25-cv-00951-PCP           Document 116-1        Filed 05/23/25      Page 8 of 9



 1   which they were found); or (b) identified as responsive to a specific request enumerated in these
 2   requests, with such specific requests identified.
 3           8.     Subject to the ESI Protocol documents and data should be provided in the manner and
 4   electronic format to which the Antitrust Division previously agreed and consistent with the Company’s
 5   prior response to the Civil Investigative Demand, if any, served on your Company during the
 6   investigation of this Transaction.
 7           9.     In producing data sets, including spreadsheets with variable or field names, produce data
 8   samples for sources or databases. Provide data dictionaries or, if not available, sufficient information,
 9   documents, or explanation to describe the data and permit the data to be reasonably interpretable and
10 usable for analysis.

11           10.    The fact that a document is in the possession of Plaintiff, or is produced by another
12 Person, does not relieve you of the obligation to produce all your copies of the same document, even if

13 your copies are identical in all respects to a document produced or held by another Person. Any

14 documents you already produced to Plaintiff during the Investigation need not be reproduced unless

15 required to comply with any protocols concerning electronically stored information applicable to this

16 Action.

17           11.    If any document is withheld based on an objection to any request, all documents covered
18 by that request but not subject to the objection must be produced.

19                                        REQUESTS FOR PRODUCTION
20           1.     Documents sufficient to show each of the Elements of Compensation Value, separately
21 and in the aggregate, received each calendar year for the period 2019 through 2024 from or on behalf of
22 HPE.

23           2.     Documents sufficient to show each of the Elements of Compensation Value, separately
24 and in the aggregate, received each calendar year for the period 2019 through 2024 from or on behalf of
25 Juniper.

26           3.     Documents sufficient to show each of the Elements of Compensation Value, separately
27 and in the aggregate, received each calendar year for the period 2019 through 2024 from or on behalf of
28                                                        4
           Case 5:25-cv-00951-PCP            Document 116-1         Filed 05/23/25      Page 9 of 9



 1   Cisco.
 2            4.    Documents sufficient to show each of the Elements of Compensation Value, separately
 3   and in the aggregate, received each calendar year for the period 2019 through 2024 from or on behalf of
 4   in the aggregate, all firms that sell wireless local area networking hardware, software, and any Relevant
 5   Product. Each such firm includes for the purpose of this Specification the firm’s domestic and foreign
 6   parents, predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all directors,
 7   officers, employees, agents, and representatives of the foregoing. The terms “parent,” “subsidiary,”
 8   “affiliate,” and “joint venture” refer to any person in which there is partial (25 percent or more) or total
 9   ownership or control between such firm and any other person.
10            5.    Documents sufficient to show each of the Elements of Compensation Value, separately
11 and in the aggregate, received each calendar year for the period 2019 through 2024 from or on behalf of

12 Hewlett or Juniper in connection with work performed by Timothy (“Tim”) Zimmerman, who serves, or

13 has served, as an officer, employee or other representative of your Company in connection with your

14 Company’s dealings with firms engaged in WLAN, network infrastructure and related businesses.

15            6.    Documents sufficient to show the dates on which Mr. Zimmerman met, spoke, or
16 otherwise communicated with directors, officers, employees, agents, or representatives of HPE or

17 Juniper, and any materials, including data and presentations, he shared with any such person.

18            7.    Produce all documents requested by any subpoena issued by HPE or Juniper, and not
19 requested by the United States, in the Action (United States v. Hewlett Packard Enterprise Co., 25-cv-

20 0951). For purposes of this request only, Plaintiff incorporates the definitions set forth in any such

21 subpoena.
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